AO 83(Rev,06/09) Summons in a Criminal Case                                                           jL
                                                                                           ;[STDir)T CO! IPT OF GUAM
                                     United States District Court
                                                              for the                                         10 im
                                                        District of Guam

                                                                                           JEANNE G. QUINATA
                  United States of America                                                     CLERK OF eOHRT
                                V.



               Ricky James Jr. Salas Santos,                            Case No. CR-20-00021



                            Defendant

                                              SUMMONS IN A CRIMINAL CASE


          YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

^Indictment               □ Superseding Indictment        □ Information □ Superseding Information               □ Complaint
□ Probation Violation Petition          □ Supervised Release Violation Petition □ Violation Notice            □ Order of Court

         District Court of Guam
Place: 520 West Soledad Ave.                                                  Courtroom No.:      3rd Floor Courtroom
         Hagatna, Guam 96910
                                                                              Date and Time:      09/10/2020 10:00 am

       This offense is briefly described as follows;
21 U.S.C. §§ 846 & 841 (a)(1) & (b)(1 )(A){vlii): Attempted Possession with Intent to Distribute Methamphetamine
Hydrochloride; Count 1,
21 U.S.C. §§ 846 & 841 (a)(1) & (b)(1 )(A){viii): Possession with Intent to Distribute Methamphetamine Hydrochloride; count
2, and
21 U.S.C. § 853; Notice of Forfeiture.




Date:             09/09/2020
                                                                                  Issuing officer's signature

                                                                             Walter M. Tenorio, Deputy Clerk
                                                                                    Printed name and title




I declare under penalty of perjury that I have:

*5ll{^Executed and returned this summons                      □ Returned this summons unexecuted




Date:
                                                                                      Server's signature

                                                                                                      OusAI
                                                                                    Printed^ name and title




                                                           ORIGINAL
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                               This second page contains personal identifiers and therefore should
                                     not be filed in court with the summons unless under seal.
                                                        (Notfor Public Disclosure)

                                                      INFORMATION FOR SERVICE

Name of defendant/offender:

Last known residence:



Usual place of abode (ifdifferentfrom residence address):


Ifthe defendant is an organization, name(s) and address(es) of officer(s) or agent(s)legally authorized to receive service of
process:



Ifthe defendant is an organization, last known address within the district or principal place of business elsewhere in the
United States:




                                                         PROOF OF SERVICE

This summons was received by me on (date)

               personally served the summons on this defendant
         (place)                            ^                              on (date)                              iOl-
         □ On (date)                                       I left the summons at the individual's residence or usual place of abode
         with (name)                                                       , a person of suitable age and discretion who resides
           there, and I mailed a copy to the individual's last known address; or

           □ I delivered a copy of the summons to (name of individual)                                                              ,
           who is authorized to receive service of process on behalf of (name oforganization)
                                                                            on (date)                             and I mailed a copy to
           the organizations's last known address within the district or to its principal place of business elsewhere in the
           United States; or

           □ The summons was returned unexecuted because:



I declare under penalty of peijuiy that this information is true.


Date returned:
                                                                                           Server's signature

                                                                              /( J
                                                                                         Printed name and title



Remarks:




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